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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1200V
                                     Filed: March 23, 2017
                                         UNPUBLISHED

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AMY PAINTER,                            *
                                        *
                    Petitioner,         *      Ruling on Entitlement; Concession;
v.                                      *      Influenza;
                                        *      Shoulder Injury; SIRVA;
SECRETARY OF HEALTH                     *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                     *
                                        *
                    Respondent.         *
                                        *
****************************
Jerome A. Konkel, Samster, Konkel & Safran, S.C., Milwaukee, WI, for petitioner.
Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

      On September 26, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury caused-in-fact by
her January 9, 2013 influenza vaccination. Petition at 1. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

        On March 22, 2017, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “concluded that petitioner’s alleged injury is consistent
with shoulder injury related to vaccine administration (“SIRVA”), and that it was caused
in fact by the flu vaccine she received on January 9, 2013.” Id. at 5. Respondent
further agrees that no other cause for petitioner’s injury was identified, that petitioner


1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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suffered sequela of her injury for more than six months, and that petitioner has satisfied
all legal prerequisites for compensation under the Vaccine Act. Id.

     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master




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